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IN THE UNITED sTATEs DISTRICT coURT m BY- ~._.D.c.
FoR THE wEsTERN DISTRICT oF TENNESSEE 05
wEsTERN DIVISION JUL 20 PH hs 33
UNITED sTATES oF AMERICA, aE%U§ "WL)THF`
01 `\_j JE!

VS. NO. 03-20233-Ma
JANELL CAGE,

Defendant.

 

ORDER RE S ETTING RE - S ENTENC ING DATE

 

Before the court is the defendant’s July ll, 2005, motion to
reset the re-sentencing of Janell Cage, Which was set for July
14, 2005. For good cause shown, the motion is granted. The
sentencing of defendant Janell Cage is reset to Wednesday, August
17, 2005, at 10:00 a.m.

lt is so oRDERED this )‘°Aday of July, 2005.

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

This dccl,ment entered on the docket eat in/c:o£%nce
with R\\le 55 and/or BZIb) FHCrP on j 'L___..

UNITD sATES DISTRIC COURT - WETERN DISITRCT OF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:03-CR-20233 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

